                                                                              Motion GRANTED.

                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
     v.                                        )       No. 1:12-cr-00010
                                               )
BENJAMIN RILEY BRADLEY                         )       JUDGE TRAUGER
                                               )


                MOTION TO RETURN DEFENDANT TO STATE CUSTODY

          Comes now the Defendant, Benjamin Bradley, by and through counsel, and respectfully

requests this Honorable Court to issue an order pursuant to the original detention order in this

case returning him to the custody of the State of Tennessee at the South Central Correctional

Facility pending the sentencing hearing in this case. In support of this motion, the Defendant

would note that, at the conclusion of his detention hearing in this case, Magistrate Griffin ordered

the Defendant to be returned to State custody at the South Central Correctional Facility (Docket

Entry 42). Magistrate Griffin’s oder in this regard was based on the findings that, 1) the

Defendant was serving a sentence at the South Central Correctional Facility and had been

brought to federal court by writ of habeas corpus ad prosequendum (Docket Entry 28); and 2)

that he was a participant in the Orion program at South Central Correctional Facility (Docket

Entry 42); and 3) it was reasonable to allow him to continue in the program (Docket Entry 42).

          The Defendant entered a plea in this case on July 20, 2013 and his sentencing hearing has

been set for October 17, 2013 at 1:00. The Defendant is currently scheduled to meet with federal

probation on July 25, 2013 for his pre-sentence investigation interview. Because the Defendant is

still enrolled in the Orion program which is a very beneficial treatment program for him, he is

                                               1
 Case 1:12-cr-00010          Document 106          Filed 06/25/13   Page 1 of 2 PageID #: 259
respectfully requesting the Court to issue an order to transport him back to the South Central

Correctional Facility after his interview with probation and to remain there until sentencing on

October 17, 2013. Also in accordance with the original order, the United States Marshal shall

continue its detainer on the Defendant so that if he were to be released from State custody during

the pendency of this case, he shall be returned to federal custody.

       Respectfully submitted this the 24th day of June, 2013.



                                      ____/s James O. Martin, III__________
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                                              2
 Case 1:12-cr-00010         Document 106          Filed 06/25/13      Page 2 of 2 PageID #: 260
